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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                        CASE NO. 07-20794-CR-LENARD/O'SULLIVAN


  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  ELKIN DARIO GUERRERO-AGAMEZ,
        a/k/a “El Brujo,”

        Defendant.
  ______________________________/

                                            ORDER

          THIS MATTER is before the Court on the Motion for a Sentence Reduction Pursuant
  to Federal Rule Criminal Procedures Rule 35(B) [sic] (DE#516, 04/23/2013) filed by
  defendant Elkin Dario Guerrero-Agamez, pro se. Having reviewed the applicable filings and
  the law, it is
          ORDERED AND ADJUDGED that the Motion for a Sentence Reduction Pursuant to
  Federal Rule Criminal Procedures Rule 35(B) [sic] (DE# 516, 04/23/2013) is DENIED.
          The defendant was sentenced to a term of 228 months1 of imprisonment, a term of
  five years of supervised release and a $100 assessment. See Judgment in a Criminal Case
  (DE# 284, 02/24/2010). The defendant argues that he is entitled to a reduction in his
  sentence because he provided “substantial assistance” to the United States through
  “intensified cooperation” and that the government has not moved for a reduced sentence
  due to an “unconstitutional motive.” Defendant’s Motion for a Sentence Reduction Pursuant
  to Federal Rule Criminal Procedures Rule 35(B) [sic] (DE# 516, 04/23/2013). The
  government opposes the defendant’s motion on two grounds: (1) “defendant fails to cite to
  any specific unconstitutional motivation for the government’s inaction” (2) “the government
  does not believe that the defendant’s assistance to the United States has risen to the level
  of substantial assistance warranting a sentence reduction pursuant to Rule 35.” See



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          In his motion, the defendant states he was sentenced to a term of 235 months of
  imprisonment. See Motion for a Sentence Reduction Pursuant to Federal Rule Criminal
  Procedures Rule 35(B) [sic] (DE#516 at 1, 04/23/2013).
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  Government’s Response to Defendant’s Motion for a sentence Reduction Pursuant to
  Federal Rule of Criminal Procedures Rule 35(B) (DE# 521 at 2, 05/20/2013). The defendant
  filed a reply on June 28, 2013. See Petitioner’s Response to the Courts Order Dated, May
  15, 2013 [sic] (DE# 523, 06/28/2013). In his reply, the defendant incorrectly notes that the
  government did not file a timely response to the instant motion. Id. at 2. The defendant’s
  reply details some of the ways in which he alleges he assisted the government. He does not
  provide any details on the government’s alleged unconstitutional motive for not filing a Rule
  35(b) motion.
         “The government may, but is not required to, file a motion to reduce the sentence of
  a defendant who has rendered substantial assistance.” United States v. Chiesa, 245 F.
  App’x 918, 919 (11th Cir. 2007). “Both §3553(e) and §5k1.1 give the government a power,
  not a duty, to file a motion when a defendant has substantially assisted.” Wade v. United
  States, 504 U.S. 181, 185 (1992). “Federal district courts have authority to review a
  prosecutor’s refusal to file a substantial-assistance motion and to grant a remedy if they find
  that the refusal was based on an unconstitutional motive.” Id. at 185. “Judicial review is
  appropriate when there is an allegation and a substantial showing that the prosecution
  refused to file a substantial assistance motion because of a constitutionally impermissible
  motivation, such as race or religion.” United States v. Forney, 9 F. 3d 1492, 1502 (11th Cir.
  1993) citing Wade, 504 U.S. at 185. In the instant case, the defendant has not made a
  substantial showing that the government’s reason for not filing a Rule 35 motion was based
  on an unconstitutional motive.
         DONE AND ORDERED in Chambers at Miami, Florida this 9th day of July, 2013.


                                              ________________________________
                                              JOHN J. O’SULLIVAN
                                              UNITED STATES MAGISTRATE JUDGE

  Copies provided to:
  All counsel of record

  Copies mailed to:
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